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                        IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re:                                                                     Case No. 24-34431-KHK
THOMAS R. BOSHER JR.,                                                                   Chapter 13
       Debtor

Address: 266 Gwynne Drive
         Aylett, VA 23009

Last four digits of SSN: xxx-xx-0632

                 NOTICE OF MOTION FOR AUTHORITY TO INCUR DEBT
                         SECURED BY PERSONAL PROPERTY

       The above named Debtor has filed a Motion for Authority to Incur Debt Secured by
Personal Property in this bankruptcy case.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

     UNDER LOCAL BANKRUPTCY RULE 9013-1, UNLESS A WRITTEN
RESPONSE IN OPPOSITION TO THIS MOTION AND SUPPORTING
MEMORANDUM ARE FILED WITH THE CLERK OF COURT AND SERVED ON
THE MOVING PARTY WITHIN 21 DAYS OF THE SERVICE OF THIS NOTICE, THE
COURT MAY DEEM ANY OPPOSITION WAIVED, TREAT THE MOTION AS
CONCEDED, AND ISSUE AN ORDER GRANTING THE REQUESTED RELIEF
WTHOUT FURTHER NOTICE OR HEARING.

                 The written response in opposition to this motion must be filed with the clerk of
                  court at the address shown below. If you mail your response to the court for filing,
                  you must mail it early enough so the court will receive it on or before the date
                  stated above.

                                   Clerk of Court
                                   United States Bankruptcy Court
                                   701 E. Broad Street, Suite 4000
                                   Richmond, VA 23219-3515




Laura T. Alridge (VSB #42549)
Boleman Law Firm, P.C.
P. O. Box 11588
Richmond, VA 23230-1588
Telephone: (804) 358-9900
Counsel for Debtor
Case 24-34431-KHK        Doc 24     Filed 03/12/25 Entered 03/12/25 10:29:40            Desc Main
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              You must also send a copy to:

                              Boleman Law Firm, P.C.
                              P. O. Box 11588
                              Richmond, VA 23230-1588

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.

                                             Respectfully submitted,

                                             THOMAS R. BOSHER JR.

                                             By Counsel:

                                             /s/ Laura T. Alridge
                                             Laura T. Alridge (VSB #42549)
                                             Boleman Law Firm, P.C.
                                             P. O. Box 11588
                                             Richmond, Virginia 23230-1588
                                             Telephone: (804) 358-9900
                                             Counsel for Debtor

                                CERTIFICATE OF SERVICE

       I certify that on March 12, 2025, I have transmitted a true copy of the
foregoing document electronically through the Court’s CM/ECF system or by mail to the Debtor,
Chapter 13 trustee, the United States trustee if other than by the electronic means provided for at
Local Bankruptcy Rule 2002-1, and to all creditors and parties of interest in the mailing
matrix attached hereto.

                                             /s/ Laura T. Alridge
                                             Counsel for Debtor
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                        IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re:                                                   Case No. 24-34431-KHK
THOMAS R. BOSHER JR.,                                                 Chapter 13
       Debtor.
______________________________________________________________________________

                          MOTION FOR AUTHORITY TO INCUR DEBT
                            SECURED BY PERSONAL PROPERTY

         COMES NOW, Thomas R. Bosher Jr. (the “Debtor”), by counsel, and files this Motion

for Authority to Incur Debt Secured by Personal Property, pursuant to 11 U.S.C. §§ 364(a) and

1304(b), Federal Rules of Bankruptcy Procedure 4001(c) and 9014, and Local Bankruptcy Rule

9013-1. In support thereof, Debtor respectfully states the following:

         1.       Jurisdiction of this Court over the instant matter is based upon 28 U.S.C. §§ 1334

and 157 in that this action arises in and relates to Debtor's bankruptcy.

         2.       This proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (B), (K),

and (O).

         3.       Venue is proper pursuant to 28 U.S.C. § 1409.

         4.       On November 21, 2024, the Debtor filed a voluntary petition under Chapter 13 of

the U.S. Bankruptcy Code.

         5.       Suzanne E. Wade, Esquire is the Trustee of the Debtor's Chapter 13 bankruptcy

estate (the “Trustee”).

         6.       The Debtor's Chapter 13 Plan, filed on November 21, 2024 (the “Plan”), has been

confirmed by the Court. The confirmed Plan requires the Debtor to make the following

payments to the Trustee: $435.00 monthly for 60 months for a total funding of $26,100.00.

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       7.       It has recently become necessary for the Debtor to purchase a vehicle. Debtor

does not currently have a reliable means of transportation. The Debtor needs a reliable vehicle to

travel to and from work and conduct personal business.

       8. Debtor filed a previous Motion for Authority to Incur Debt Secured by Personal

             Property on February 3, 2025. This transaction did not take place.

       9.       Debtor does not have funds on hand that would allow him to afford the outright

purchase of a vehicle. Therefore, Debtor will need to incur debt to finance the purchase of a

vehicle.

       10.      Debtor seeks court approval to enter into a loan agreement with DriveTime or its

assigns (the “Loan”) to finance the purchase of a 2023 Chevrolet Trailblazer (the “Vehicle”) or a

substantially similar vehicle.

       11.      The terms of the proposed Loan are as follows:

                a.       The total principal amount of the Loan is approximately $24,081.81;

                b.       Interest will be charged at a fixed rate not to exceed 16.45%;

                c.       The Loan will be amortized for no more than 72 months; and

                d.       The monthly principal and interest payment will be approximately $485.54.

       12.      The Debtor will be making a down payment of $3,500.00 dollars; the source of

             the down payment will be coming from the Debtor’s savings and employment

             earnings.

       13.      The Debtor asserts that incurring this Loan debt will not adversely impact his

ability to make the required payments under the Plan.
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          14.    Debtor further requests that the Court waive application of Federal Rule of

Bankruptcy Procedure 6004(h) in the instant matter in order to facilitate the efficient purchase of

the Vehicle.

          WHEREFORE, Debtor respectfully requests that this Court enter an order (1) granting

the instant motion, (2) permitting Debtor to incur the Loan debt set forth herein, or a loan with

substantially similar terms, to finance the purchase of the Vehicle or a substantially similar

vehicle, (3) waiving the applicability of Federal Rule of Bankruptcy Procedure 6004(h) to the

order granting the instant motion, and (4) for such other and further relief as the Court deems

proper.

                                               Respectfully submitted,

                                               THOMAS R. BOSHER JR.

                                               By Counsel:

                                               /s/ Laura T. Alridge
                                               Laura T. Alridge (VSB #42549)
                                               Boleman Law Firm, P.C.
                                               P. O. Box 11588
                                               Richmond, Virginia 23230-1588
                                               Telephone: (804) 358-9900
                                               Counsel for Debtor


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                                               /s/ Laura T. Alridge
                                               Counsel for Debtor
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Bon Secours Medical Group           Brock and Scott, PLLC               Capital One
Richmond Primary Care LLC           3825 Forrestgate Dr.                PO Box 31293
PO Box 25319                        Winston Salem, NC 27103             Salt Lake City, UT 84030-0281
Belfast, ME 04915-2004



County of King William              Credit One Bank                     Feb - Destiny
PO Box 217                          6801 S. Cimarron Road               PO Box 4499
King William, VA 23086              Las Vegas, NV 89113                 Beaverton, OR 97076




Freedom Mortgage Corportion         KOHLS/CAPONE                        Labcorp
11988 Exit 5 Parkway, Bldg 4        P.O. Box 3115                       Re: Bankruptcy Dept.
Fishers, IN 46037                   Milwaukee, WI 53201                 PO Box 2240
                                                                        Burlington, NC 27216



Memorial Regional Medical Cent      Mission Lane/Tab Bank               Pathward/Oportun
8260 Atlee Road                     Po Box 105286                       2 Circle Star Way
Mechanicsville, VA 23116            Atlanta, GA 30348                   San Carlos, CA 94070




Portfolio Recovery Associates       SYNCB/Home                          TBOM/Fortiva
PO Box 41067                        PO Box 965036                       PO Box 105555
Norfolk, VA 23541                   Orlando, FL 32896                   Atlanta, GA 30348-5555




The Home Depot/CBNA                 Upstart Network Inc
P.O. Box 6497                       2 Circle Star Way
Sioux Falls, SD 57117-6497          San Carlos, CA 94070
